Case: 2:23-cv-00512-SDM-EPD Doc #: 194 Filed: 11/28/23 Page: 1 of 8 PAGEID #: 1881


                                                      FILED
LEGALZOOM                                       RICHARD .F,- , J;:
                                                 CLEr c r,'     ,

                                               2Cl3 I'QV 28 ~~ ' ` ' November 21, 2023
                                                U.. . ;4 :
                                               SOU r Hn(~ER/ `! iJL T.0HtU
    UNITED STATES DISTRICT COURT               FAST
    SOUTHERN DISTRICT OF OHIO
    85 MARCONI BOULEVARD, ROOM 121
    COLUMBUS, OH 43215


    Dear SARAH D. MORRISON:

           LegalZoom.com, Inc. ("LegalZoom"), through its wholly-owned
    subsidiary, United States Corporation Agents, Inc. ("USCA"), received
    documents from your office. The documents are directed to COLLATERAL
    DAMAGE LLC. We are unable to accept service of the documents because
    USCA is not the registered agent for an entity with the precise name
    COLLATERAL DAMAGE LLC in CA.

          Enclosed, please find your documents which we are returning to you. If
    you have any questions, please feel free to give us a call at (800) 524-4564.

    Sincerely,


    Your LegalZoom Team




   9900 SPECTRUM DR                               LEGALZOOM.COM
   AUSTIN TX 78717          (877) 773-0888
11/21/23, 10:30 AM                              Search i California                 Secretary of State
            Case: 2:23-cv-00512-SDM-EPD Doc #: 194  Filed: 11/28/23 Page: 2 of 8 PAGEID #: 1882
            California                                                                                                                  Login
            Secretary of Sale                 Business             uCC


        Home                                                                        COLLATERAL DAMAGE LLC
                                                                                    (201 913510663)
                                           Business
            rch                            Search
                                       ► The California Business Search
                                                                                                               C'f fl
                                         provides access to available                                         Request
                                                                                                             Certificate
                                         information for corporations,
                                         limited liability companies and               Initial Filing Date   05/10/2019
                                         limited partnerships of record
                                         with the California Secretary of                          Status    Active
                                         State, with free PDF copies of over              Standing - SOS      Good
                                          17 million imaged business entity
                                                                                          Standing - FTB      Good
                                         documents, including the most
                                         recent imaged Statements of                    Standing - Agent      Not Good
                                         Information filed for Corporations             Standing - VCFCF      Good
                                         and Limited Liability Companies.
                                                                                               Formed In      CALIFORNIA
                                           Currently, information for Limited                 Entity Type     Limited Liability Company -
                                                                                                              CA
                                           Liability Partnerships (e.g. law
                                           firms, architecture firms,                  Principal Address      45 S ARROYO PKWY.
                                                                                                              PASADENA, CA 91105
                                            engineering firms, public
                                            accountancy firms, and land survey           Mailing Address      45 S ARROYO PKWY.
                                           firms), General Partnerships, and                                  PASADENA,CA91105
                                           other entity types are not                    ! Statement of       05/31/2023
                                           contained in the California                    Info Due Date
                                           Business Search. Ifyou wish to                          Agent      Individual
                                           obtain information about LLPs and                                  NO AGENT
                                                                                                              AGENT RESIGNED OR
                                            GPs, submit a Business Entities                                   INVALID
                                            Order paper form to request copies
                                           offilings for these entity types.
                                           Note: This search is not intended to                                                OO
                                           serve as a name reservation search.                                                  Q
                                            To reserve an entity name, select                View History                  Request Access
                                           Forms on the left panel and select
                                           Entity Name Reservation?
                                            Corporation, LLC, LP.

                                           Basic Search

                                                   A Basic search can be
                                                   performed using an entity
                                                   name or entity number. When
                                                   conducting a search by an
                                                   entity number, where
                                                   applicable, remove "C" from
                                                   the entity number. Note, a
                                                   basic search will search only
                                                   ACTIVE entities (Corporations,
                                                   Limited Liability Companies,
                                                   Limited Partnerships,
                                                   Cooperatives, Name
                                                   Reservations, Foreign Name
                                                             ..   11
                                                   n
                                        Skip to main content State
https://bizfileonline.sos.ca.gov/search/business                                                                                                1/3
Case: 2:23-cv-00512-SDM-EPD Doc #: 194 Filed: 11/28/23 Page: 3 of 8 PAGEID #: 1883




Collateral Damage, LLC
101 N. Brand Blvd.
11th Floor
Glendale, CA 91203
          Case:
CM/ECF LIVE        2:23-cv-00512-SDM-EPD
            - U.S. District Court:OHSD                       https://ohsd-ecf.sso.dcn/cgi-bin/Dispatch.pl?851484815509583
                                         Doc #: 194 Filed: 11/28/23    Page: 4 of 8 PAGEID #: 1884

     Other Orders/Judgments
     2:23-cv-00512-SDM-EPD Root,
     Inc. et al v. Silver et al
         AttySealedAcc,JURY,PRO
         SE,PROTO

                                                      U.S. District Court

                                                   Southern District of Ohio

     Notice of Electronic Filing

     The following transaction was entered on 11/15/2023 at 4:30 PM EST and filed on 11/15/2023
     Case Name:           Root, Inc. et al v. Silver et al
     Case Number:         2:23-cv-00512-SDM-EPD
     Filer:
     Document Number: 184

     Docket Text:
     ORDER issued re [180] [181] Applications for Entry of Default in that the Clerk is DIRECTED to
     REFRAIN from entering default against the Silver Defendants on the basis of the pending
     applications. Signed by Judge Sarah D. Morrison on 11/15/23. (sem)(This document has been
     sent by regular mail to the party(ies) listed in the NEF that did not receive electronic
     notification.)


     2:23-cv-00512-SDM-EPD Notice has been electronically mailed to:

         William Darrell Kloss, Jr     wdklossjr@vorys.com, jlmason@vorys.com

         Tiffany Strelow Cobb      tscobb@vorys.com, bjtobin@vorys.com, mdwalkuski@vorys.com

         Phillip A. Templeton     ptempleton57@gmail.com

         Thomas Wyatt Palmer         Thomas.Palmer@ThompsonHine.com, ECFDocket@Thompsonhine.com

         Jerry E Peer, Jr    jpeer@petersonconners.com

         Gregory Scott Peterson      gpeterson@petersonconners.com

         Istvan Gajary      igajary@petersonconners.com

         Jamar TaeVann King jamar.king@thompsonhine.com, ECFDocket@Thompsonhine.com,
         diane.macleod@thompsonhine.com

         Elizabeth S. Alexander      esalexander@vorys.com, jlgeorge@vorys.com, stnorvell@vorys.com

         Matthew L. Jalandoni (Terminated)      mjalandoni@flannerygeorgalis.com, dkrupp@flannerygeorgalis.com,
         kroyal@flannerygeorgalis.com



1 of 2                                                                                                  11/15/2023, 4:30 PM
          Case:
CM/ECF LIVE        2:23-cv-00512-SDM-EPD
            - U.S. District Court:OHSD                       https://ohsd-ecf.sso.dcn/cgi-bin/Dispatch.pl?851484815509583
                                         Doc #: 194 Filed: 11/28/23    Page: 5 of 8 PAGEID #: 1885

     Aaron Jones (Terminated)        amjones@bmdllc.com, addutro@bmdllc.com, cvoharra@bmdllc.com,
     hjaeger@ffalaw.com

     Grace Elizabeth Saalman        gesaalman@vorys.com, jskish@vorys.com

     William Benjamin Reese (Terminated)          breese@flannerygeorgalis.com, dkrupp@flannerygeorgalis.com,
     kroyal@flannerygeorgalis.com

     Matthew David Ridings         matt.ridings@thompsonhine.com, ecfdocket@thompsonhine.com

     Karim Sabbidine        Karim.Sabbidine@ThompsonHine.com

     Joshua H Epstein       jepstein@dglaw.com

     Eva Mia Jimenez         ejimcnez@dglaw.com

     Kristine Anne Forderer       kforderer@cooley.com

     Matthew L. Kutcher         mkutcher@cooley.com, efiling-notice@ecf.pacerpro.com, efilingnotice@cooley.com

     Joan E Meyer        joan.meyer@thompsonhine.com, ECFDocket@thompsonhine.com

     2:23-cv-00512-SDM-EPD Notice has been delivered by other means to:

     Collateral Damage, LLC
     101 N. Brand Blvd.
     11th Floor
     Glendale, CA 91203

     Eclipse Home Design, LLC
     651 N. Broad Street
     Suite 201
     Middletown, De 19709

         Paige McDaniel
         5576 Alexanders Lake Road
         Stockbridge, GA 30281

         The following document(s) are associated with this transaction:

         Document description:Main Document
         Original filename:n/a
         Electronic document Stamp:
         [STAMP dcecfStamp_ID=1040326259 [Date=11/15/2023] [FileNumber=8723779-
         0][4086f454f4ff1fd5eb8943977246a55f634ea4b60304055e23fe7b102ff7ed3078
         db9cecdb86f5bd7c8503f9163aa39872928e7c8eedbbef45e727e5523c5161]]




2 of 2                                                                                                  11/15/2023, 4:30 PM
Case: 2:23-cv-00512-SDM-EPD Doc #: 194 Filed: 11/28/23 Page: 6 of 8 PAGEID #: 1886
 Case: 2:23-cv-00512-SDM-EPD Doc #: 184 Filed: 11/15/23 Page: 1 of 2 PAGEID #: 1598



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

   ROOT, INC., et at.,

                       Plaintiffs,
                                                  Case No. 2:23-cv-512
         V.                                       Judge Sarah D. Morrison
                                                  Magistrate Judge Chelsey M.
                                                  Vascura
   BRINSON CALEB SILVER, et at.,

                       Defendants.

                                        ORDER

        Plaintiffs Root, Inc., Caret Holdings, Inc., and Root Insurance Agency, LLC

  filed Rule 55(a) applications for entry of default against Defendants Brinson Caleb

  Silver, Eclipse Home Design, LLC, and Collateral Damage, LLC (together, the

  "Silver Defendants"). (ECF Nos. 180, 181.) Rule 55(a) provides:

        When a party against whom a judgment for affirmative relief is sought
        has failed to plead or otherwise defend, and that failure is shown by
        affidavit or otherwise, the clerk must enter the party's default.

  Fed. R. Civ. P. 55(a).

        The Silver Defendants failed to respond to the operative Second Amended

  Complaint—but each answered the First Verified Amended Complaint. (See ECF

  Nos. 127, 128, 129.) As to the Silver Defendants, the Second Amended Complaint is

  identical to the First. (See ECF No. 165, PAGEID # 1380.) "Rule 55(a) only permits

  the Clerk to enter default when a party `has failed to plead or otherwise defend' in

  the action." United States ex rel. Griffith v. Conn, No. 11-157-ART-EBA, 2016 WL

  11200230, at *1 (E.D. Ky. May 16, 2016) (Thapar, J.) (emphasis added). That cannot
Case: 2:23-cv-00512-SDM-EPD Doc #: 194 Filed: 11/28/23 Page: 7 of 8 PAGEID #: 1887
 Cade: 2:23-cv-00512-SDM-EPD Doc #: 184 Filed: 11/15/23 Page: 2 of 2 PAGEID #: 1599



  be said about the Silver Defendants. See also McCutchen u. Tipton County, 430 F.

  Cupp. 2d 741 (W.D. Tenn. 2006) (denying an application for entry of default as to a

  defendant who responded to a complaint but did not respond to an amended

  complaint, where the amended complaint related back to the original under Rule

  15(c)). The Clerk is thus DIRECTED to REFRAIN from entering default against

  the Silver Defendants on the basis of the pending applications.



        IT IS SO ORDERED.


                                         /s/ Sarah D. Morrison
                                         SARAH D. MORRISON
                                         UNITED STATES DISTRICT JUDGE




                                            2
             Case: 2:23-cv-00512-SDM-EPD Doc #: 194 Filed: 11/28/23 Page: 8 of 8 PAGEID #: 1888
      OFFICE OF THE CLERK                                 CL7L~J~~1 t3L7~                               :! US POSTAGE ' PI~IEYBOWES
UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF OHIO                               v
                                                          •~1        Z9.?3            'LL
  85 MARCONI BOULEVARD, ROOM 121
     COLUMBUS, OHIO 43215
                                                                                                              ZIP 43215 $
                                                                                                              02 4YV             000.6.30
                                                                                                              0000343269 NOV 16 2023


        OFFICIAL BUSINESS




                                      8i 2C=3-28. 83. 3          ii,I,)IIIJf,,it,i„,ilIhI,,,iIi,,►j,),ji,',j„iI,i~,,,'I,II,lii
